73 F.3d 358NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    James Rodney SMITH, Plaintiff-Appellant,v.SOUTHERN CORRECTIONAL INSTITUTION;  Cumberland CountySheriff's Department, Defendants-Appellees.
    No. 95-6994.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 14, 1995.Decided:  Jan. 4, 1996.
    
      James Rodney Smith, Appellant Pro Se.
      Before ERVIN, Chief Judge, and WIDENER and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Smith v. Southern Correctional Inst., No. CA-95-247-5-CT-BO (E.D.N.C. June 9, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    